Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 1 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 2 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 3 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 4 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 5 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 6 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 7 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 8 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 9 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 10 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 11 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 12 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 13 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 14 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 15 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 16 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 17 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 18 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 19 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 20 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 21 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 22 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 23 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 24 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 25 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 26 of 27
Case 1:21-cr-00582-CRC Document 1 Filed 09/16/21 Page 27 of 27
